10/13/22, 3:05 PM               Case 1:23-mi-99999-UNA Document
                                                             Mail122-6     Filed
                                                                  - Mary Barnes    01/13/23 Page 1 of 2
                                                                                - Outlook


     FW: Insurance Policy Info for Quote
     David Boohaker <David@boohakerlawfirm.com>
     Thu 10/13/2022 2:17 PM
     To: Mary Barnes <Mary@boohakerlawfirm.com>
     FYI please save, this one and previous three I sent.
                                                                                                                               EXHIBIT B
     David Boohaker
     ATTORNEY AT LAW



     (770) 288-9170
     david@boohakerlawfirm.com



      800 JOHNSON FERRY ROAD NE, SUITE B, ATLANTA, GA 30342 . BOOHAKERLAWFIRM.COM


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      No waiver of any privilege is intended by inadvertent disclosure. If you are not the intended recipient, please
      delete the email and attachments, and notify the sender of the same. Thank you.




     From: ksmith kbcc.tv <ksmith@kbcc.tv>
     Sent: Wednesday, October 12, 2022 6:16 PM
     To: David Boohaker <David@boohakerlawfirm.com>
     Subject: Fw: Insurance Policy Info for Quote

     Hello Attorney Boohaker,

     Per our conversation, please see the email thread below between myself and Mr. Herring regarding our church information for insurance coverage.

     Thanks,
     K. Francis Smith
     Lead Pastor
     Excel Church Worldwide
     www.excelchurch.tv



     From: ksmith kbcc.tv <ksmith@kbcc.tv>
     Sent: Wednesday, August 3, 2022 6:51 PM
     To: Herring, Wallace B <WHerring@alfains.com>
     Subject: Re: Insurance Policy Info for Quote

     EIN: XX-XXXXXXX

     Date Established: 08/03/1992

     Omega Peoples: 404-921-7449


     From: Herring, Wallace B <WHerring@alfains.com>
     Sent: Wednesday, August 3, 2022 3:14 PM
     To: ksmith kbcc.tv <ksmith@kbcc.tv>
     Subject: RE: Insurance Policy Info for Quote

     Pastor.

     Just wanted to follow up with you to let you that I have received the forwarded information and I am preparing some numbers for you so we can get you taken care of.

     I should have a number for you by lunch tomorrow, if that is okay?

     I do need to get a couple more pieces of information from you:

     Is there a EIN for the church?
     When was church established?
     Will you be the primary point of contact?
     Any prior losses?




     From: ksmith kbcc.tv <ksmith@kbcc.tv>
     Sent: Wednesday, August 03, 2022 1:37 PM


https://outlook.office.com/mail/inbox/id/AAQkADBmZTNmNzE5LTU1ZWUtNDlmYi04MTg3LWU5OTliMGQzZmUyNAAQANqfA1REvYtFlMQf5I0siFA%3D                                                 1/2
10/13/22, 3:05 PM          Case 1:23-mi-99999-UNA Document
                                                        Mail122-6     Filed
                                                             - Mary Barnes    01/13/23 Page 2 of 2
                                                                           - Outlook
     To: Herring, Wallace B <WHerring@alfains.com>
     Subject: Insurance Policy Info for Quote

     CAUTION: This email originated from outside of the Alfa network. Do not click links or open attachments unless you recognize the sender and know the content is safe.


     Hello Mr. Herring,

     Per our conversation, please see the aforementioned insurance policy info below for our insurance quote.

     Feel free to contact me with any questions you might have.

     https://www.dropbox.com/s/123v8z7a1ygs0ef/PU-1-0228999-25-233307-1210602-02-003-1220602-1210602--051020211620679185370-
     MA_MailingAddressKINGDOMBUILDERSCOVENANTCHURCH%20copy.pdf?dl=0 Oh no I will not paying attention

     Thanks,
     K. Francis Smith
     Lead Pastor
     Excel Church Worldwide
     www.excelchurch.tv
     The information contained in this email/fax is confidential; it is intended only for the use of the individual or entity named above. If the reader of this message is not the
     intended recipient, you are notified that any distribution or use of this information is strictly prohibited. If you have received this communication in error, please contact us
     immediately at the telephone number or e-mail address set forth above and destroy all copies of the original message. Although this email is believed to not contain a virus or
     other defect that might affect any computer system in which it is received, it is the responsibility of the recipient to ensure this email does not contain a virus. Alfa accepts no
     responsibility for any loss or damage arising in any way from its use.




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